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IN THE UNITED STATES DISTRICT
FOR THE NORTHERN DISTRICT OF |

 

 

 

FORT WORTH DIVISION CLERR, WS DISTRICT CORE
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UNITED STATES OF AMERICA 4 Deputy

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v. No. 4:18-MI- 7 8G
BRIAN MATTHEW MORTON (01)
CRIMINAL COMPLAINT

I, the undersigned Complainant, being duly sworn, state the following is true and
correct to the best of my knowledge and belief:

On or about May 10, 2018, in the Fort Worth Division of the Northern District of
Texas, defendant Brian Matthew Morton knowingly received any visual depiction
using any means and facility of interstate or foreign commerce, by any means, including
by computer, knowing the production of such visual depiction involves the use of a minor
engaging in sexually explicit conduct and such visual depiction is of such conduct.

Specifically, Morton used the Internet and a cellular telephone to receive the

following visual depiction of a minor engaged in sexually explicit conduct as defined in

18 U.S.C. § 2256:

 

 

 

File Name File Description
2018I-THP1- An image depicting the genital area of a
3236(001)\files\image prepubescent female child with an erect adult male
152593993 1369.jpg penis penetrating her vagina. The focus of the

image is the genitals.

 

 

 

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In violation of 18 U.S.C. § 2252(a)(2) and (b)(1).
INTRODUCTION

1. I have been employed as a Special Agent with United States Secret Service
(“USSS”) since June 2016, and I am currently assigned to the Dallas Field Office located
in Irving, Texas. Since joining the USSS, I have been involved in investigations of
counterfeit U.S. currency and crimes against children. I have gained experience in such
investigations through everyday work related to conducting these types of investigations.
I have also participated with agents from the U.S. Department of Homeland Security,
Immigration and Customs Enforcement, Homeland Security Investigations, in conducting
criminal investigations involving child exploitation and child enticement. As part of my
duties as a USSS agent, I investigate criminal violations relating to child exploitation and
child pornography, including violations pertaining to the illegal production, distribution,
receipt and possession of child pornography, in violation of 18 U.S.C. §§ 2251, 2252 and
2252A. I have received training in the area of child pornography and child exploitation,
and have had the opportunity to observe and review numerous examples of child
pornography (as defined in 18 U.S.C. § 2256) in all forms of media including computer
media. I have been involved in numerous child pornography investigations and am very
familiar with the tactics used by child pornography offenders who collect and distribute

child pornographic images.

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2. The information contained in this affidavit is from my personal knowledge
of the described investigation and from information obtained from other law enforcement
agents.

OVERVIEW OF INVESTIGATION

3. On September 1, 2018, Texas Department of Public Safety (DPS) officers
stopped Morton in Palo Pinto County, Texas, for speeding. DPS officers smelled
marijuana in Morton’s vehicle, and Morton acknowledged he had marijuana in his
vehicle. DPS officers arrested Morton for possession of a controlled substance, and
subsequently searched his vehicle. Inside the vehicle were 100 pairs of women’s
underwear, 14 adult sex toys, one of which was plugged in and charging, marijuana, and
three cellular phones. Morton was also searched at the time of his arrest. His pants’
zipper was down, and he had a pill bottle containing Ecstasy pills and a pair of women’s
underwear in his pockets.

4, On September 4, 2018, search warrants were issued for the three cellular
phones seized from Morton’s vehicle. DPS officers searched the phones and found child
pornography on all three phones. On September 5, 2018, the devices were taken to
Garland Police Department for forensic examination. On September 10, 2018, DPS
officers obtained new search warrants for the phones specifically referencing child
pornography. I subsequently reviewed the images extracted from Morton’s three cellular
phones and determined that the phones collectively contained approximately 19,270

images of child pornography or child exploitive material.

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5. According to Morton, he viewed the child pornography located on his
phones through the cellular phone application “Tumblr,” which was installed on all three
phones. “Tumblr” is a blogging and social networking website service that allows users
to post multimedia and other content to a short-form blog. Users can upload text posts,
images, videos, quotes, or links to their blog. Users can also follow, comment, re-blog,
and like posts from other blogs that appear on their dashboard. The “dashboard” is a
live feed of recent posts from blogs users follow. Many of the images extracted from
Morton’s phones appear to be screenshots taken from the Tumblr dashboard. A
screenshot is a digital image of what is visible on a cell phone screen, computer monitor,
or other visual output device at the time the screenshot is produced.

6. The image 2018I-THP1-3236(001)\files\image 1525939931369 jpg, which
is an image depicting the genital area of a prepubescent female child with an erect adult
male penis penetrating her vagina with a focus on the genitals, was downloaded to
Morton’s LG cellular phone, model MS210, IMEI 353341091364720, on or about May
10, 2018. The image appears to be a screenshot that Morton took from his Tumblr
account on that date. This cellular phone was one of the phones seized from Morton in
Palo Pinto County on or about September 1, 2018.

7. On October 26, 2018, a DPS officer and I interviewed Morton at the Palo
Pinto County Sherriff’s Department. During the interview, Morton stated the following:

e he is the only person that uses the subject cellular phones that were seized
from his vehicle;

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e all images of child pornography on his cellular phones were captured using
the Tumblr application;

e he initially claimed he began saving images three months ago, but later
admitted it could have been as many as eight months ago;

e he planned to turn over the images to law enforcement but was unable to
say when he planned to do that; and

e he never reported the child pornography images he found to law
enforcement.

8. Based on my training and experience in child exploitation investigations, I
am aware that downloading files using the Tumblr application requires use of the
Internet, which is a means and facility of interstate and/or foreign commerce.
Furthermore, the cellular phone Morton used to receive the images set forth in paragraph
six bears a label that reads “Made in Vietnam.” Therefore, for the device to be present in
the Northern District of Texas, there is probable cause to believe that the device itself
travelled in and affecting interstate and foreign commerce.

CONCLUSION

9. Based on the facts set forth in this affidavit, there is probable to believe that

on or about May 10, 2018, Brian Matthew Morton knowingly used a means and facility

of interstate commerce to receive a visual depiction of a minor engaged in sexually

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explicit conduct, in violation of 18 U.S.C.§ 2252(a)(2). Accordingly, I respectfully

request that this Court issue a warrant authorizing the arrest of Morton for this offense.

_Spssiee Rent Steven Chisholm
nited States Secret Service

Subscribed and sworn before me this [ g day of December 2018 in Fort
Worth, Texas at //-°/ 7 mz

  
 

~CURETON
States Magistrate Judge

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